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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 12-cr-00033-JLK

UNITED STATES OF AMERICA,

        Plaintiff,
v.

2.      BAKHTIYOR JUMAEV,

        Defendant.


     ORDER DENYING DEFENDANT JUMAEV’S MOTION TO SET ASIDE VERDICT
        AND TO DISMISS THE INDICTMENT WITH PREJUDICE, OR IN THE
               ALTERNATIVE, FOR A NEW TRIAL (ECF NO. 1827)

Kane, J.

        On June 22, 2018, I issued a Preliminary Order (ECF No. 1902)1 on Defendant Bakhtiyor

Jumaev’s Motion to set aside the verdict and to dismiss the indictment or, in the alternative, for a

new trial (ECF No. 1827). With that Order, I found that extraneous material—approximately 52

minutes of an Islamic Jihad Union propaganda video and its corresponding translation—was

submitted to the jury as Exhibits 313 and 313A. I also announced that I would be holding a

hearing to interview the presiding juror from Mr. Jumaev’s trial on whether the jury had actually

reviewed the extraneous material. On June 26, 2018, I conducted the hearing and, at its

conclusion, informed the parties that I would issue this written Order to memorialize my findings

and final ruling.

The Hearing

        Before the hearing, I provided counsel for both parties with a list of questions I intended

to ask the presiding juror. Counsel suggested edits, and I incorporated them in my questioning.

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The Preliminary Order was initially issued at a Level 2 Restriction but has since been replaced
with the Unrestricted Preliminary Order at ECF No. 1906-1.


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       Upon commencing the hearing, I advised the presiding juror that none of my questions

were intended to elicit information on “the deliberations of the jury, [their] thought processes or

how [they] came about [their] decision.” 06/26/18 Tr. at 5:16-17, ECF No. 1909. I then reminded

the presiding juror that the oath she took still applied and stressed the importance of her

providing accurate responses.

       I proceeded by asking whether there was a particular juror who was in charge of playing

the videos in evidence on the computer provided to the jury. The presiding juror’s immediate

response was: “We ended up not really doing that.” Id. at 7:7. I asked her to clarify, and she

stated: “We might have looked at one, but then we just sort of went back—it was sort of tedious

to get through the one we were looking at, so we went back to the transcripts and just used that.”

Id. at 7:9-12. The presiding juror repeatedly stated with certainty that the jurors attempted to play

only a single video during deliberations and that it was not one of the Islamic Jihad Union

propaganda videos. Id. at 8:4-21, 9:3-5 (“[L]ike I said, we tried to play that one, and that was it.

Didn’t look at anything else.”). She did recall the video played during the trial that depicted

individuals shooting weapons while an imam spoke in the background. Id. at 9:20-21. But, when

I asked her about some of the memorable content in the extraneous material, i.e., a scene of a

goat being tied up and slaughtered and images of dead babies, she was unaware of a video

containing such scenes and images. Id. at 8:22-24, 9:15-10:2, 10:7-8. In addition to the video, I

specifically inquired about the extraneous translation. The presiding juror responded that the

jurors did not look at any translations during their deliberations that they had not seen before. Id.

at 9:1-10.

       The presiding juror also confirmed that the jurors looked at all of the evidence together,

explaining that the only purpose for which jurors might have viewed the evidence separately was

to find a particular item to then show to the group. Id. at 6:10-25.


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Analysis

       Based on the presiding juror’s unequivocal responses, I find that no juror reviewed the

extraneous material in Exhibits 313 and 313A. Thus, I need not presume Mr. Jumaev was

prejudiced by the material. See United States v. Byrne, 171 F.3d 1231, 1236 (10th Cir. 1999)

(holding that there was not even the slightest possibility that extraneous material affected the

verdict when each juror swore under oath that he or she had not read it); c.f. United States v.

Wood, 958 F.2d 963, 965 (10th Cir. 1992) (affirming the district court’s grant of a new trial

based on the inconclusive testimony of the presiding juror as to whether the jury was exposed to

government counsel’s notes on a writing pad found in the jury room). Nor must I engage in the

process of “reviewing the entire record, analyzing the substance of the extrinsic evidence, and

comparing it to that information of which the jurors were properly aware.” United States v.

Hornung, 848 F.2d 1040, 1045 (10th Cir. 1988). As I identified in my Preliminary Order, the

paramount question to be answered in deciding Mr. Jumaev’s Motion is whether he was denied a

fair trial. The concerns identified there—Mr. Jumaev’s loss of the rights of confrontation, cross-

examination, and the assistance of counsel—are not present here, as the jurors did not actually

review the extraneous material.

       Accordingly, I conclude that Mr. Jumaev was not denied a fair trial and it is not in the

interest of justice to set aside the verdict. His Motion (ECF No. 1827) is DENIED.



       DATED this 28th day of June, 2018.


                                                              ______________________________
                                                              JOHN L. KANE
                                                              SENIOR U.S. DISTRICT JUDGE




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